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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 UNITED STATES OF AMERICA
                                                     CRIMINAL ACTION NO.
 V.

                                                     1:23-CR-0047-MHC-JEM-1
 KRISTOPHER KNEUBUHLER

TO THE ABOVE NAMED DEFENDANT:

     By direction of the Honorable Mark H. Cohen, United States District Judge, YOU ARE
HEREBY ORDERED to appear in the United States District Court for the Northern District of
Georgia, January 9, 2024, at 10:00 A.M. for imposition of sentence. On that date report to the
U.S. Courthouse, Courtroom 1905, 75 Ted Turner Drive, SW, Atlanta, Georgia, 30303, where
sentence will be imposed. You will receive no further notice.


        If you are under bond, your failure to appear for sentencing on this above date will result
in the forfeiture of your bond.


        IT IS FURTHER ORDERED that a Presentence Investigation and Report to this Court
will be completed, and that you report immediately to the United States Probation Office of this
Court for interview and further instruction. (Room 900 of the building).



DATE: Sentember 26. 2023                                     KEVIN P. WEIMER, CLERK
                   ~z-
DEFENDANT:
                 Kristopher Kneubuhler

COUNSEL:
           Stev^fi Beme/Lawrence Zimmerman
                                                       BY:       ^J-^
                                                                    Lisa Emi.
                                                             COURTROOM DEPUTY CLERK

NOTE: No continuance can be granted except by Order of the Court. Any request should be
brought to the Court's attention as soon as possible by having your attorney call Lisa Enix,
Courtroom Deputy Clerk, at 404-215-1315.


US. Attorney                                         AUSA: Theodore Hertzberg
U.S. Probation
U.S. Marshal
Counsel for Defendant
